                                                     FILED: April 3, 2025

                 UNITED STATES COURT OF APPEALS
                     FOR THE FOURTH CIRCUIT

                           ___________________

                               No. 25-1248 (L)
                            (1:25-cv-00748-JKB)
                           ___________________

STATE OF MARYLAND; STATE OF MINNESOTA; DISTRICT OF
COLUMBIA; STATE OF ARIZONA; STATE OF CALIFORNIA; STATE OF
COLORADO; STATE OF CONNECTICUT; STATE OF DELAWARE; STATE
OF HAWAII; STATE OF ILLINOIS; STATE OF MASSACHUSETTS; STATE
OF MICHIGAN; STATE OF NEVADA; STATE OF NEW JERSEY; STATE OF
NEW MEXICO; STATE OF NEW YORK; STATE OF OREGON; STATE OF
RHODE ISLAND; STATE OF VERMONT; STATE OF WISCONSIN

           Plaintiffs - Appellees

v.

UNITED STATES DEPARTMENT OF AGRICULTURE; BROOKE ROLLINS,
in her Official Capacity as Secretary of Agriculture; UNITED STATES
DEPARTMENT OF COMMERCE; HOWARD LUTNICK, in his Official
Capacity as Secretary of Commerce; UNITED STATES DEPARTMENT OF
DEFENSE; PETER HEGSETH, In his Official Capacity as Secretary of Defense;
UNITED STATES DEPARTMENT OF EDUCATION; LINDA MCMAHON, in
her Official Capacity as Secretary of Education; UNITED STATES
DEPARTMENT OF ENERGY; CHRISTOPHER WRIGHT, in his Official
Capacity as Secretary of Energy; UNITED STATES DEPARTMENT OF
HEALTH & HUMAN SERVICES; ROBERT F. KENNEDY, JR., in his Official
Capacity as Secretary of Health and Human Services; UNITED STATES
DEPARTMENT OF HOMELAND SECURITY; KRISTI NOEM, in her Official
Capacity as Secretary of Homeland Security; UNITED STATES DEPARTMENT
OF HOUSING & URBAN DEVELOPMENT; SCOTT TURNER, in his Official
Capacity as Secretary of Housing and Urban Development; UNITED STATES
DEPARTMENT OF THE INTERIOR; DOUGLAS BURGUM, in his Official
Capacity as Secretary of the Interior; UNITED STATES DEPARTMENT OF
LABOR; VINCENT MICONE, in his Official Capacity as Acting Secretary of
Labor; UNITED STATES DEPARTMENT OF TRANSPORTATION; SEAN P.
DUFFY, in his Official Capacity as Secretary of Transportation; UNITED
STATES DEPARTMENT OF THE TREASURY; SCOTT BESSENT, in his
Official Capacity as Secretary of the Treasury; UNITED STATES
DEPARTMENT OF VETERANS AFFAIRS; DOUGLAS A. COLLINS, in his
Official Capacity as Secretary of Veterans Affairs; CONSUMER FINANCIAL
PROTECTION BUREAU; RUSSELL VOUGHT, in his Official Capacity as
Acting Director of the Consumer Financial Protection Bureau; UNITED STATES
ENVIRONMENTAL PROTECTION AGENCY; LEE ZELDIN, in his Official
Capacity as Administrator of the Environmental Protection Agency; FEDERAL
DEPOSIT INSURANCE CORPORATION; TRAVIS HILL, in his Official
Capacity as Acting Chairman of the Federal Deposit Insurance Corporation;
GENERAL SERVICES ADMINISTRATION; STEPHEN EHIKIAN, in his
Official Capacity as Acting Administrator of the General Services Administration;
NATIONAL ARCHIVES AND RECORDS ADMINISTRATION; OFFICE OF
PERSONNEL MANAGEMENT; CHARLES EZELL, in his Official Capacity as
Acting Director of the Office of Personnel Management; SMALL BUSINESS
ADMINISTRATION; KELLY LOEFLER, in her Official Capacity as
Administrator of the Small Business Administration; UNITED STATES
AGENCY FOR INTERNATIONAL DEVELOPMENT; MARCO RUBIO, in his
Official Capacity as Acting Administrator of the United States Agency for
International Development and Archivist for the National Archives and Records
Administration

            Defendants - Appellants

                            ___________________

                                 No. 25-1338
                             (1:25-cv-00748-JKB)
                            ___________________

STATE OF MARYLAND; STATE OF MINNESOTA; DISTRICT OF
COLUMBIA; STATE OF ARIZONA; STATE OF CALIFORNIA; STATE OF
COLORADO; STATE OF CONNECTICUT; STATE OF DELAWARE; STATE
OF HAWAII; STATE OF ILLINOIS; STATE OF MASSACHUSETTS; STATE
OF MICHIGAN; STATE OF NEVADA; STATE OF NEW JERSEY; STATE OF
NEW MEXICO; STATE OF NEW YORK; STATE OF OREGON; STATE OF
RHODE ISLAND; STATE OF VERMONT; STATE OF WISCONSIN

            Plaintiffs - Appellees
v.

UNITED STATES DEPARTMENT OF AGRICULTURE; BROOKE ROLLINS,
in her Official Capacity as Secretary of Agriculture; UNITED STATES
DEPARTMENT OF COMMERCE; HOWARD LUTNICK, in his Official
Capacity as Secretary of Commerce; UNITED STATES DEPARTMENT OF
DEFENSE; PETE HEGSETH, In his Official Capacity as Secretary of Defense;
UNITED STATES DEPARTMENT OF EDUCATION; LINDA MCMAHON, in
her Official Capacity as Secretary of Education; UNITED STATES
DEPARTMENT OF ENERGY; CHRISTOPHER A. WRIGHT, in his Official
Capacity as Secretary of Energy; UNITED STATES DEPARTMENT OF
HEALTH & HUMAN SERVICES; ROBERT F. KENNEDY, JR., in his Official
Capacity as Secretary of Health and Human Services; UNITED STATES
DEPARTMENT OF HOMELAND SECURITY; KRISTI NOEM, in her Official
Capacity as Secretary of Homeland Security; UNITED STATES DEPARTMENT
OF HOUSING & URBAN DEVELOPMENT; SCOTT TURNER, in his Official
Capacity as Secretary of Housing and Urban Development; UNITED STATES
DEPARTMENT OF THE INTERIOR; DOUGLAS BURGUM, in his Official
Capacity as Secretary of the Interior; UNITED STATES DEPARTMENT OF
LABOR; VINCENT N. MICONE, III, in his Official Capacity as Acting
Secretary of Labor; UNITED STATES DEPARTMENT OF
TRANSPORTATION; SEAN DUFFY, in his Official Capacity as Secretary of
Transportation; UNITED STATES DEPARTMENT OF THE TREASURY;
SCOTT BESSENT, in his Official Capacity as Secretary of the Treasury;
UNITED STATES DEPARTMENT OF VETERANS AFFAIRS; DOUGLAS
COLLINS, in his Official Capacity as Secretary of Veterans Affairs;
CONSUMER FINANCIAL PROTECTION BUREAU; RUSSELL VOUGHT, in
his Official Capacity as Acting Director of the Consumer Financial Protection
Bureau; UNITED STATES ENVIRONMENTAL PROTECTION AGENCY;
LEE M. ZELDIN, in his Official Capacity as Administrator of the Environmental
Protection Agency; FEDERAL DEPOSIT INSURANCE CORPORATION;
TRAVIS HILL, in his Official Capacity as Acting Chairman of the Federal
Deposit Insurance Corporation; GENERAL SERVICES ADMINISTRATION;
STEPHEN EHIKIAN, in his Official Capacity as Acting Administrator of the
General Services Administration; NATIONAL ARCHIVES AND RECORDS
ADMINISTRATION; OFFICE OF PERSONNEL MANAGEMENT; CHARLES
EZELL, in his Official Capacity as Acting Director of the Office of Personnel
Management; SMALL BUSINESS ADMINISTRATION; KELLY LOEFLER, in
her Official Capacity as Administrator of the Small Business Administration;
UNITED STATES AGENCY FOR INTERNATIONAL DEVELOPMENT;
MARCO RUBIO, in his Official Capacity as Acting Administrator of the United
States Agency for International Development and Archivist for the National
Archives and Records Administration

             Defendants - Appellants

                             ___________________

                                  ORDER
                             ___________________

      The court consolidates Case No. 25-1248 and Case No. 25-1338. Entry of

appearance forms and disclosure statements filed by counsel and parties to the lead

case are deemed filed in the secondary case.

                                       For the Court--By Direction

                                       /s/ Nwamaka Anowi, Clerk
